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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:11-CR-00365-GEB
                                             )
12               Plaintiff,                  ) STIPULATION AND ORDER EXCLUDING
                                             ) TIME AND SETTING MATTER FOR
13         v.                                ) CHANGE OF PLEA
                                             )
14   ADAN GUTIERREZ CRUZ,                    )
                                             ) Judge: Hon. Garland E. Burrell
15               Defendant.                  )
                                             )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. By prior Order this matter was set for a Status Conference on

23         August 2, 2013.

24      2. By this Stipulation, the defendant now moves to set this matter

25         for a Change of Plea hearing on August 9, 2013, and to exclude

26         time between August 2, 2013, and August 9, 2013, under Local

27         Code T4.    The United States does not oppose this request.

28   ///

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30   Stipulation to Exclude Time              1                  United States v. Cruz
             Case 2:11-cr-00365-GEB Document 189 Filed 07/29/13 Page 2 of 2


1       3. The parties agree and stipulate, and request that the Court find

2          the following:

3             a. The defendant and defense counsel need further time to

4                discuss the terms and consequences of the draft plea

5                agreement between the parties.

6             b. Based on the above-stated findings, the ends of justice

7                served by continuing the case as requested outweigh the

8                interest of the public and the defendant in a trial within

9                the original date prescribed by the Speedy Trial Act.

10            c. For the purpose of computing time under the Speedy Trial

11               Act, 18 U.S.C. § 3161, within which trial must commence,

12               the time period of August 2, 2013, to August 9, 2013,

13               inclusive, is deemed excludable pursuant to 18 U.S.C. §

14               3161(h)(7)(A), (B)(iv) [Local Code T4] because it results

15               from a continuance granted by the Court at the defendant’s

16               request on the basis of the Court’s finding that the ends

17               of justice served by taking such action outweigh the best

18               interest of the public and the defendant in a speedy trial.

19   IT IS SO STIPULATED.

20   DATED: July 25, 2013                  /s/ Justin L. Lee   _
                                         JUSTIN L. LEE
21                                       Assistant U.S. Attorney
22   DATED: July 25, 2013                  /s/ Erin Radekin     _
                                         Erin Radekin
23                                       Attorney for Defendant
                                         (as authorized on July 25, 2013)
24
     IT IS SO FOUND AND ORDERED.
25
     Date:    7/29/2013
26
27                                       ___________________________________
28                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
29

30   Stipulation to Exclude Time               2                  United States v. Cruz
